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4
     Attorney for Defendant
5    ANGELA SHAVLOVSKY

6

7                            IN THE UNITED STATES DISTRICT COURT

8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,               )   2:11-CR-00427 TLN
                                             )
11                              Plaintiff,   )   STIPULATION AND ORDER
                                             )   TO CONTINUE STATUS CONFERENCE
12   v.                                      )
                                             )
13                                           )
     ANGELA SHAVLOVSKY,                      )
14                                           )
                             Defendant.      )
15   __________________________________      )

16
                                         STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Jill Thomas, and defendant, Angela
19
     Shavlovsky, by and through her counsel, Erin J. Radekin, agree and stipulate
20
     to vacate the date set for status conference, December 18, 2014 at 9:30 a.m.,
21
     in the above-captioned matter, and to continue the status conference to
22
     January 22, 2015 at 9:30 a.m. in the courtroom of the Honorable Troy L.
23
     Nunley.
24
           The reason for this request is that additional time is needed by Ms.
25
     Radekin to complete review of discovery, for investigation, and for other
26
     defense preparation.    In the last 30 days the government has provided
27
     additional discovery so that discovery now ends at page number 68720.     The
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                                     Stipulation and Order - 1
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1    Court is advised that Ms. Thomas concurs with this request and has authorized

2    Ms. Radekin to sign this stipulation on her behalf.

3          The parties further agree and stipulate that the time period from the

4    filing of this stipulation until January 22, 2015 should be excluded in

5    computing time for commencement of trial under the Speedy Trial Act, based

6    upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv), and Local

7    Code T4, to allow reasonable time necessary for effective defense

8    preparation.   It is further agreed and stipulated that the ends of justice

9    served in granting the request outweigh the best interests of the public and

10   the defendant in a speedy trial.

11         Accordingly, the parties respectfully request the Court adopt this

12   proposed stipulation.

13   IT IS SO STIPULATED

14   Dated: December 12, 2014                     BENJAMIN WAGNER
                                                  United States Attorney
15
                                          By:      /s/ Jill Thomas
16                                                JILL THOMAS
                                                  Assistant United States Attorney
17

18   Dated: December 12, 2014                      /s/ Erin J. Radekin
                                                  ERIN J. RADEKIN
19                                                Attorney for Defendant
                                                  ANGELA SHAVLOVKSY
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21
                                          ORDER
22
           For the reasons set forth in the accompanying stipulation and
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     declaration of counsel, the status conference date of December 18, 2014 at
24
     9:30 a.m. is VACATED and the above-captioned matter is set for status
25
     conference on January 22, 2015 at 9:30 a.m.    The Court finds excludable time
26
     in this matter through January 22, 2015 under 18 U.S.C. § 3161(h)(7)(B)(iv)
27
     and Local Code T4, to allow reasonable time necessary for effective defense
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                                   Stipulation and Order - 2
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1    preparation.   For the reasons stipulated by the parties, the Court finds that

2    the interest of justice served by granting the request outweigh the best

3    interests of the public and the defendant in a speedy trial. 18 U.S.C. §§

4    3161(h)(7)(A), (h)(7)(B)(iv).

5    IT IS SO ORDERED.

6    Dated: December 15, 2014

7                                                  Troy L. Nunley
                                                   United States District Judge
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                                     Stipulation and Order - 3
